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                         AMAZON.COM INC., AMAZON.COM SERVICES
                    12   LLC, AND AMAZON WEB SERVICES, INC.
                    13

                    14                                UNITED STATES DISTRICT COURT
                    15                             NORTHERN DISTRICT OF CALIFORNIA
                    16

                    17   MICHELE OBRIEN, as an individual and on          Case No. 3:22-cv-348
                         behalf of others similarly situated,
                    18                                                    DECLARATION OF BRIAN D. BERRY
                                               Plaintiff,                 IN SUPPORT OF DEFENDANTS’
                    19                                                    NOTICE OF REMOVAL
                                       vs.
                    20                                                    State Case No.: 21CV004153
                         AMAZON.COM INC., a Delaware
                    21   corporation; AMAZON.COM SERVICES                 State Complaint Filed: Dec. 15, 2021
                         LLC, a Delaware limited liability corporation;
                    22   AMAZON WEB SERVICES, INC., a                     State Action Served: Dec. 17, 2021
                         Delaware corporation, and DOES 1 through
                    23   100, inclusive,

                    24                         Defendants.

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MORGAN, LEWIS &
                                                                                   DECLARATION OF BRIAN D. BERRY IN
 BOCKIUS LLP                                                                      SUPPORT OF DEFENDANTS’ NOTICE OF
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                                                          REMOVAL
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                     1                              DECLARATION OF BRIAN D. BERRY

                     2          I, Brian D. Berry, declare as follows:

                     3          1.     I am a partner with the law firm of Morgan, Lewis, & Bockius LLP, counsel for

                     4   Defendants Amazon.com, Inc., Amazon.com Services, LLC, and Amazon Web Services, Inc.

                     5   (collectively, “Amazon” or “Defendants”). I make this declaration in support of Defendants’

                     6   Notice of Removal. I have personal knowledge of the facts set forth in this Declaration or know

                     7   of such facts from my review of the case documents and the court docket in this matter and other

                     8   information that is publicly available or provided to me by Amazon. If called and sworn as a

                     9   witness, I could and would competently testify thereto. As counsel for Defendants, Morgan,
                    10   Lewis & Bockius LLP maintains in the ordinary course of its business all pleadings served on or

                    11   by Defendants in the above-captioned action.

                    12          2.     Attached hereto as Exhibit A is a true and correct copy of the Complaint in this

                    13   action, filed on December 15, 2021 in the Superior Court for the County of Alameda (Case No.

                    14   21CV004153), and served personally on Defendants via CSC on December 17, 2021.

                    15          3.     Attached hereto as Exhibit B is a true and correct copy of the Summons, filed on

                    16   December 15, 2021.

                    17          4.     Attached hereto as Exhibit C is a true and correct copy of the Civil Case Cover

                    18   Sheet, filed on December 15, 2021.

                    19          5.     Attached hereto as Exhibit D is a true and correct copy of the Notice of Case
                    20   Management Conference, filed on December 15, 2021.

                    21          6.     Attached hereto as Exhibit E is a true and correct copy of the Proof of Service and

                    22   Summons on Defendant Amazon.com, Inc., filed on January 10, 2022.

                    23          7.     Attached hereto as Exhibit F is a true and correct copy of the Proof of Service and

                    24   Summons on Defendant Amazon.com Services LLC, filed on January 10, 2022

                    25          8.     Attached hereto as Exhibit G is a true and correct copy of the Proof of Service and

                    26   Summons on Defendant Amazon Web Services, Inc., filed on January 10, 2022

                    27

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MORGAN, LEWIS &
                                                                                     DECLARATION OF BRIAN D. BERRY IN
 BOCKIUS LLP                                                             2          SUPPORT OF DEFENDANTS’ NOTICE OF
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                                                            REMOVAL
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                     1          9.      Exhibits A through G constitute all process, pleadings, and orders filed by and/or

                     2   served by Defendants or on Defendants to date in the Action.

                     3          I declare under penalty of perjury under the laws of the State of California and the United

                     4   States of America that the foregoing is true and correct.

                     5          Executed this 18th day of January, 2022, in San Francisco, California.

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                                                                              /s/ Brian D. Berry
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                                                                              Brian D. Berry
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MORGAN, LEWIS &
                                                                                      DECLARATION OF BRIAN D. BERRY IN
 BOCKIUS LLP                                                              3          SUPPORT OF DEFENDANTS’ NOTICE OF
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                                                             REMOVAL
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                EXHIBIT A
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 9
10                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
11                                 FOR THE COUNTY OF ALAMEDA
12
13   MICHELE OBRIEN, as an individual and on      CASE NO.
     behalf of others similarly situated,
14                                                CLASS ACTION COMPLAINT FOR
                   Plaintiff,                     DAMAGES FOR:
15
            v.                                    (1) AGE DISCRIMINATION IN VIOLATION
16                                                    OF FEHA (Cal. Gov’t Code § 12940, et
     AMAZON.COM INC., a Delaware corporation;         seq.);
17                                                (2) FAILURE TO PREVENT OR CORRECT
     AMAZON.COM SERVICES LLC, a Delaware
     limited liability corporation; AMAZON WEB        DISCRIMINATION UNDER FEHA (Cal.
18                                                    Gov’t Code § 12940(k)); AND
     SERVICES, INC., a Delaware corporation , and (3) UNFAIR BUSINESS PRACTICES
19   DOES 1 through 100, inclusive,                   (Violation of Cal. Bus. & Prof. Code §
                                                      17200, et seq.)
20                    Defendants.
                                                      DEMAND FOR JURY TRIAL
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                                  CLASS ACTION COMPLAINT FOR DAMAGES
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 1          Plaintiff Michele Obrien (“Plaintiff” or “Ms. Obrien”) hereby submits this Complaint against
 2   Amazon.com Inc., Amazon.com Services LLC, Amazon Web Services, Inc., and DOES 1-100
 3   (hereinafter collectively referred to as “Defendants” or “Amazon”) on behalf of herself and the class
 4   of persons aged 40 and older employed at any Amazon warehouse or fulfillment center in California at
 5   any time during the period of four years prior to the filing of this Complaint to the present who have
 6   been or may be subjected to Amazon’s “rate of production” and/or work production quota policies or
 7   practices.
 8                                                INTRODUCTION
 9          1.       The California Fair Employment and Housing Act (“FEHA”) prohibits an employer
10   from discharging a person from employment or from discriminating against a person “in
11   compensation, or in terms, conditions, or privileges of employment” on the basis of the person’s age.
12   Cal. Gov’t Code § 12940(a).
13          2.       Plaintiff Michele Obrien brings this action on behalf of herself and a class of current
14   and former employees aged 40 and over who worked at any Amazon warehouse or fulfillment center
15   in California who have been or continue to be subjected to Amazon’s “rate of production” and/or work
16   production quota policies or practices for such workers to meet, from December 15, 2017 to the
17   present.
18          3.       Plaintiff seeks monetary and injunctive relief, and an award of attorneys’ fees and
19   costs and behalf of herself and the Class.
20                                       JURISDICTION AND VENUE
21          4.      This Court has jurisdiction over this action because Plaintiff’s claims arise under state
22   law, including FEHA.
23          5.      This Court has jurisdiction over this Class Action pursuant to Code of Civil Procedure
24   § 382 and is consistent with Fed. R. Civ. P. 23(a), (b)(1), (b)(2), and (b)(3). The amount in
25   controversy for Plaintiff is less than $30,000, inclusive of compensatory damages, penalties, interest,
26   and a pro-rata share of attorneys’ fees.
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                                    CLASS ACTION COMPLAINT FOR DAMAGES
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 1          6.      Venue is proper because Defendants, and each of them, have conducted business
 2   activity in the County of Alameda, including employing class members in this district and, and many
 3   of the incidents giving rise to Plaintiff’s claims took place in this county.
 4                                                   PARTIES
 5          7.      Plaintiff Michele Obrien is an adult woman who resides in Highland, California.
 6          8.      Plaintiff is informed and believes and based thereon alleges that Defendant
 7   Amazon.com Inc. was and is a Delaware corporation with its headquarters located at Seattle,
 8   Washington that is registered with the California Secretary of State and does business in the State of
 9   California, including in the County of Alameda, and employed Plaintiff and other similarly situated
10   employees throughout the State of California as further defined herein.
11          9.      Plaintiff is informed and believes and based thereon alleges that Defendant
12   Amazon.com Services LLC was and is a Delaware corporation with its headquarters located at Seattle,
13   Washington that is registered with the California Secretary of State and does business in the State of
14   California, including in the County of Alameda, and employed Plaintiff and other similarly situated
15   employees throughout the State of California as further defined herein.
16          10.     Plaintiff is informed and believes and based thereon alleges that Defendant
17   Amazon Web Services, Inc. was and is a Delaware corporation with its headquarters located at Seattle,

18   Washington that is registered with the California Secretary of State and does business in the State of

19   California, including in the County of Alameda, and employed Plaintiff and other similarly situated

20   employees throughout the State of California as further defined herein.

21          11.     Each Defendant has more than five employees and is therefore an employer within the

22   meaning of FEHA.

23          12.     Plaintiff is informed and believes and based thereon alleges that at all times herein

24   mentioned Defendants and DOES 1 through 100, are and were corporations, business entities,

25   individuals, and partnerships, licensed to do business and actually doing business in the State of

26   California.

27          13.     Plaintiff does not know the true names or capacities, whether individual, partner

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                                    CLASS ACTION COMPLAINT FOR DAMAGES
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 1   or corporate, of the Defendants sued herein as DOES 1 through 100, inclusive, and for that reason,
 2   said Defendants are sued under such fictitious names, and Plaintiff prays leave to amend this
 3   complaint when the true names and capacities are known. Plaintiff is informed and believes and based
 4   thereon alleges that each of said fictitious Defendants was responsible in some way for the matters
 5   alleged herein and proximately caused Plaintiff and members of the general public and class to be
 6   subject to the illegal employment practices, wrongs and injuries complained of herein.
 7          14.     At all times herein mentioned, each of said Defendants participated in the doing of the
 8   acts hereinafter alleged to have been done by the named Defendants; and furthermore, the Defendants,
 9   and each of them, were the agents, servants and employees of each of the other Defendants, as well as
10   the agents of all Defendants, and were acting within the course and scope of said agency and
11   employment.
12          15.     Plaintiff is informed and believes and based thereon alleges that at all times
13   herein mentioned, each of the named Defendants was the joint employer, agent, employer, alter ego
14   and/or joint venturer of, or working in concert with each of the other Co-Defendants and was acting
15   within the course and scope of such agency, employment, joint venture, or concerted activity. To the
16   extent said acts, conduct, and omissions were perpetrated by certain Defendants, each of the remaining
17   Defendants confirmed and ratified said acts, conduct, and omissions of the acting Defendants.
18          16.     At all times herein mentioned, Defendants, and each of them, were members of,
19   and engaged in, a joint venture, partnership and common enterprise, and were acting within the course
20   and scope of, and in pursuance of, said joint venture, partnership and common enterprise.
21          17.     At all times herein mentioned, the acts and omissions of various Defendants, and each
22   of them, concurred and contributed to the various acts and omissions of each and all of the other
23   Defendants in proximately causing the injuries and damages as herein alleged. At all times herein
24   mentioned, Defendants, and each of them, ratified each and every act or omission complained of
25   herein. At all times herein mentioned, the Defendants, and each of them, aided and abetted the acts
26   and omissions of each and all of the other Defendants in proximately causing the damages as herein
27   alleged.
28   ///
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                                   CLASS ACTION COMPLAINT FOR DAMAGES
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 1                          EXHAUSTION OF ADMINISTRATIVE REMEDIES
 2             18.   On behalf of herself and similarly situated employees, Plaintiff Michele Obrien filed a
 3   complaint with the Department of Fair Employment and Housing (“DFEH”) and received a Notice of
 4   Right to Sue from the DFEH on October 4, 2021. The DFEH complaint and Notice of Right to Sue
 5   were personally served on Defendants on October 21, 2021.
 6                                        FACTUAL BACKGROUND
 7             19.   Ms. Obrien worked at an Amazon warehouse facility in Sycamore Canyon, CA in
 8   October 2018. At the time of this employment, she was 48 years old.
 9             20.   In addition to terminating older employees in disproportionate numbers, Amazon
10   applies employment policies and practices which discriminate against employees aged 40 and above.
11             21.   Amazon applied a “rate of production” and/or work production quotas to Ms. Obrien
12   and to other similarly situated employees aged 40 and over that she and other similarly situated
13   employees had to meet. Amazon did not adjust or alter this “rate of production” and/or work
14   production quota to account for Ms. Obrien’s or other employees’ age and the “rate of production”
15   and/or work production quota was applied to employees below the age of 40 at the same rate.
16             22.   Ms. Obrien and other employees aged 40 and over could not keep up with the required
17   “rate of production” and/or work production quota due to their age.
18             23.   The “rate of production” and/or work production quota required that Ms. Obrien,
19   among other things, meet quantified work and production targets and quotas relating to packing,
20   stowing, and sorting of packages and filling and emptying of boxes and bins and containers.
21             24.   As a result of Amazon’s “rate of production” and/or work production quota policies or
22   practices, Ms. Obrien and similarly situated employees aged 40 and over suffered from work related
23   physical injuries in an effort to keep up with the required rate of production and/or quotas and,
24   ultimately, she was not able to meet Amazon’s imposed “rate of production” and/or work production
25   quotas.
26             25.   Ms. Obrien and similarly situated employees were criticized and reprimanded by
27   supervisors for being unable to keep up with the imposed “rate of production” and/or quotas, causing
28   them significant stress arising from a difficult work environment.
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                                    CLASS ACTION COMPLAINT FOR DAMAGES
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 1          26.     Due to the continuing adverse impact of the application of Amazon’s “rate of
 2   production” and/or quotas applied to Ms. Obrien, and her not able to meet these quantified standards,
 3   she was terminated in October 2018.
 4          27.     Ms. Obrien suffered lost income as a result of being terminated, suffered emotional
 5   distress, and suffered physical injuries due to having the “rate of production” and/or quotas imposed
 6   upon her to meet and due to being terminated for not meeting them.
 7          28.     Ms. Obrien was later re-hired by Amazon in 2019 and she worked as an hourly, non-
 8   exempt warehouse employee in Amazon’s Moreno Valley, CA fulfillment center. At the time of this
 9   employment, she was 49 years old.
10          29.     Again, Amazon applied a “rate of production” and/or work production quota to Ms.
11   Obrien and to other similarly situated employees aged 40 and over. Amazon did not adjust or alter
12   this “rate of production” and/or work production quota to account for Ms. Obrien’s or other
13   employees’ age and the “rate of production” and/or work production quota was applied to employees
14   below the age of 40 at the same rate.
15          30.     Again, Ms. Obrien and other employees aged 40 and over could not keep up with the
16   required “rate of production” and/or work production quota due to their age.
17          31.     Again, Ms. Obrien and similarly situated employees were criticized and reprimanded
18   by supervisors for being unable to keep up with the imposed “rate of production” and/or quotas,
19   causing them significant stress arising from a difficult work environment.
20          32.     Due to the continuing adverse impact of the application of Amazon’s “rate of
21   production” and/or work production quota to Ms. Obrien, she was again terminated in October 2019.
22   Her last date of work was approximately October 7, 2019.
23          33.     Ms. Obrien suffered lost income as a result of being terminated, suffered emotional
24   distress and suffered physical injuries due to having the “rate of production” and/or quotas imposed
25   upon her to meet and due to being terminated for not meeting them.
26                                    CLASS ACTION ALLEGATIONS
27          34.     Class Definition: The named individual Plaintiff brings this action on behalf of
28   herself and the class pursuant to California Code of Civil Procedure § 382 and is consistent with Fed.
                                                    6
                                   CLASS ACTION COMPLAINT FOR DAMAGES
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 1   R. Civ. P. 23(a), (b)(1), (b)(2), and (b)(3). The class consists of all current and former employees of
 2   Amazon, aged 40 or older, who worked at Amazon warehouses or fulfillment centers in California and
 3   who have been or continue to be subjected to, or had to meet, any policy or practice of Amazon
 4   regarding “rate of production” for their work and/or work production quotas, during the period from
 5   December 15, 2017 to the present (collectively, the “Class”).
 6          35.     Ms. Obrien is a member of the Class she seeks to represent.
 7          36.     Numerosity: The members of the class exceed 1,000 persons and are so numerous that
 8   joinder of all members would be impractical, if not impossible. The identity of the members of the
 9   class is readily ascertainable by review of Defendants’ records, including payroll records. Plaintiff is
10   informed and believes and based thereon alleges that class members were discriminated against on the
11   basis of their age in violation of FEHA.
12          37.     Adequacy of Representation:       The named Plaintiff is fully prepared to take all
13   necessary steps to represent fairly and adequately the interests of the Class defined above. Plaintiff’s
14   attorneys are ready, willing and able to fully and adequately represent the Class and individual
15   Plaintiff. Plaintiff’s attorneys have prosecuted and settled class actions in the past and currently have
16   a number of class actions pending in California courts.
17          38.     Common Question of Law and Fact: There are predominant common questions of law
18   and fact and a community of interest amongst Plaintiff and the claims of the class concerning
19   Defendant. Common questions include, among others, whether Amazon’s policy and practice of
20   applying a standard, required “rate of production” and/or work production quota to all employees that
21   disproportionally affects employees over the age of 40 violates California laws, and whether equitable
22   remedies, injunctive relief, and compensatory damages for the Class are warranted.
23          39.     Typicality: The claims of Plaintiff are typical of the claims of all members of the
24   Class. Plaintiff and Class Members have been subjected to Amazon’s common “rate of production”
25   and/or work production quota policies and practices.
26          40.     The nature of this action and the format of laws available to Plaintiff and members of
27   the Class identified herein make the Class action format a particularly efficient and appropriate
28   procedure to redress the wrongs alleged herein. If each employee were required to file an individual
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 1   lawsuit, the corporate Defendants would necessarily gain an unconscionable advantage since they
 2   would be able to exploit and overwhelm the limited resources of each individual plaintiff with their
 3   vastly superior financial and legal resources. Requiring each class member to pursue an individual
 4   remedy would also discourage the assertion of lawful claims by employees who would be disinclined
 5   to file an action against their former and/or current employer for real and justifiable fear of retaliation
 6   and permanent damage to their careers at subsequent employment.
 7           41.     The prosecution of separate actions by the individual class members, even if possible,
 8   would create a substantial risk of (a) inconsistent or varying adjudications with respect to individual
 9   class members against the Defendants and which would establish potentially incompatible standards of
10   conduct for the Defendants; and/or (b) adjudications with respect to individual class members which
11   would, as a practical matter, be dispositive of the interest of the other class members not parties to the
12   adjudications or which would substantially impair or impede the ability of the class members to
13   protect their interests. Further, the claims of the individual members of the Class are not sufficiently
14   large to warrant vigorous individual prosecution considering all of the concomitant costs and
15   expenses.
16           42.     Proof of a common business practice or factual pattern, which the named
17   Plaintiff experienced and is representative of, will establish the right of each of the members of the
18   Plaintiff Class to recovery on the causes of action alleged herein.
19                                        FIRST CAUSE OF ACTION
20                                 Age Discrimination in Violation of FEHA
21                                       Cal. Gov’t Code § 12940, et seq.
22                        (On Behalf of Plaintiff and the Class Against All Defendants)
23           43.     Plaintiff hereby incorporates by reference all preceding paragraphs as alleged above as
24   if fully set forth herein.
25           44.     FEHA prohibits an employer from discharging a person from employment or from
26   discriminating against a person “in compensation, or in terms, conditions, or privileges of
27   employment” on the basis of the person’s age. Cal. Gov’t Code § 12940(a).        As used in FEHA, age
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                                    CLASS ACTION COMPLAINT FOR DAMAGES
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 1   means “the chronological age of any individual who has reached his 40th birthday.” Cal. Gov’t Code §
 2   12926(b).
 3          45.     Defendants have discriminated against Plaintiff and the Class of similarly situated
 4   employees aged 40 and over in violation of FEHA by subjecting them to different and adverse
 5   treatment on the basis of age. Plaintiff and the Class of similarly situated employees aged 40 and over
 6   have suffered both disparate impact and disparate treatment as a result of Defendants’ conduct.
 7          46.     Disparate Treatment. Defendants’ uniform application of its “rate of production”
 8   and/or work production quota policy resulted in disparate treatment of Plaintiff and the Class of
 9   similarly situated employees aged 40 and amounted to a pattern and practice of intentional
10   discrimination in violation of FEHA by Defendants—because Defendants knew that older employees
11   could not meet the “rate of production” and/or quota the way younger employees could but instead
12   would and did suffer injuries trying to meet these targets and quit or were terminated because they
13   failed to meet the “rate of production” and/or quota.
14          47.     Disparate Impact. Defendants’ uniform application of its “rate of production” and/or
15   work production quota policy has a disparate impact on Plaintiff and the Class of similarly situated
16   employees aged 40 and over and on the terms, conditions, and privileges of their employment. Such
17   employees aged 40 and over could not meet the “rate of production” and/or quota versus younger
18   employees, suffered job injuries at a higher rate than younger employees, suffered adverse scheduling
19   versus younger employees, suffered transfers or demotions versus younger employees, suffered
20   criticism and reprimands versus younger employees, and ultimately quit or were terminated at a higher
21   rate than younger employees, and including quitting or being terminated for not being able to meet the
22   “rate of production” and/or quota. Defendants’ system is not justified by business necessity or, if it
23   could be justified, less discriminatory alternatives exist.
24          48.     At all relevant times, Defendants had actual and constructive knowledge of the
25   discriminatory conduct described herein.
26          49.     Plaintiff is informed and believes and thereon alleges that Defendants engaged in other
27   discriminatory practices against Plaintiff and the Class of similarly situated employees aged 40 and
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                                                     9
                                    CLASS ACTION COMPLAINT FOR DAMAGES
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 1   over which are not yet fully known. Plaintiff will seek leave of this Court to amend this complaint in
 2   those regards at such time as these additional discriminatory practices become known.
 3           50.     As a direct and proximate result of Defendants’ unlawful actions, Plaintiff and the
 4   Class have suffered lost back wages, lost front wages, lost employment benefits, other compensation
 5   and benefits, and other economic damages in amounts to be proven at trial.
 6           51.     As a direct and proximate result of Defendants’ unlawful actions, Plaintiff and the
 7   Class have suffered injury, including but not limited to emotional distress, entitling them to
 8   compensatory damages in an amount to be proven at trial.
 9           52.     Plaintiff and the Class are entitled to reasonable attorneys’ fees and costs pursuant to
10   California Government Code § 12965(b).
11                                       SECOND CAUSE OF ACTION
12                         Failure to Prevent or Correct Discrimination Under FEHA
13                                         Cal. Gov’t Code § 12940(k)
14                        (On Behalf of Plaintiff and the Class Against All Defendants)
15           53.     Plaintiff hereby incorporates by reference all preceding paragraphs as alleged above as
16   if fully set forth herein.
17           54.     California Government Code § 12940(k) holds it is an unlawful employment practice
18   for an employer “to fail to take all reasonable steps necessary to prevent discrimination . . . from
19   occurring.”
20           55.     By the actions and omissions of Defendants described hereinabove, Defendants failed
21   their affirmative duty to take all reasonable steps necessary to prevent discrimination on the basis of
22   employees’ age from occurring in violation of California Government Code § 12940(k).
23           56.     As a direct and proximate result of Defendants’ unlawful actions, Plaintiff and the
24   Class have suffered lost back wages, lost front wages, lost employment benefits, other compensation
25   and benefits, and other economic damages in amounts to be proven at trial.
26           57.     As a direct and proximate result of Defendants’ unlawful actions, Plaintiff and the
27   Class have suffered injury, including but not limited to emotional distress, entitling them to
28   compensatory damages in an amount to be proven at trial.
                                                    10
                                    CLASS ACTION COMPLAINT FOR DAMAGES
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 1           58.     Plaintiff and the Class are entitled to reasonable attorneys’ fees and costs pursuant to
 2   California Government Code § 12965(b).
 3                                         THIRD CAUSE OF ACTION
 4                                Violation of California’s Unfair Competition Law
 5                                    Cal. Bus. & Prof. Code §§ 17200, et seq.
 6                        (On Behalf of Plaintiff and the Class Against All Defendants)
 7          59.      Plaintiff hereby incorporates by reference all preceding paragraphs as alleged above as
 8   if fully set forth herein.
 9          60.      California’s Unfair Competition Law (“UCL”) prohibits “any unlawful, unfair or
10   fraudulent business act or practice. Cal. Bus. & Prof. Code § 17200.
11          61.      Amazon engaged in unlawful and unfair business practices as described hereinabove,
12   including but not limited to applying its required “rate of production” and/or work production quota to
13   Plaintiff and Class Members, subjecting Plaintiff and Class Members to adverse employment
14   decisions for being unable to meet the “rate of production” and/or quotas, and failing to prevent
15   discrimination to Plaintiff and Class Members.
16          62.      Plaintiff and Class Members have suffered injury in fact and have lost money or
17   property as a result of Amazon’s acts and omissions.
18          63.      Amazon’s acts and omissions constitute unfair competition and provide Amazon with
19   an unfair advantage over its competitors. As a direct and proximate result of Amazon’s unlawful
20   conduct alleged herein, Amazon unfairly obtained profits. Therefore, Plaintiff and Class Members are
21   entitled to disgorgement by Amazon of those profits.
22          64.      Plaintiff, on behalf of herself and the Class, seeks restitution to restore any and all
23   monies withheld, acquired, and/or converted by Defendants by means of the unfair business practices
24   complained of herein.
25          65.      Plaintiff, on behalf of herself and the Class, seeks injunctive relief to prevent ongoing
26   and future unlawful and unfair business practices by Defendants, and seeks an award of attorneys’ fees
27   and costs pursuant to Code of Civil Procedure § 1021.5.
28   ///
                                                      11
                                      CLASS ACTION COMPLAINT FOR DAMAGES
         Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 16 of 36




 1                                          PRAYER FOR RELIEF
 2                    WHEREFORE, Plaintiff on her own behalf and on the behalf of the members of the
 3   Class, prays for judgment against Defendants as follows:
 4           1.      For an order certifying the proposed Class;
 5           2.      For an order appointing Plaintiff Michele Obrien as the representative of the Class;
 6           3.      For an order appointing Counsel for Plaintiff as Class Counsel;
 7           4.      For injunctive relief against Defendants as deemed appropriate by the Court;
 8           5.      For front wages, back wages, salary, employment benefits, and other compensation
 9   denied to or lost by Plaintiff and Class Members in an amount to be proven at trial;
10           6.      For any other economic losses incurred by Plaintiff and Class Members in an amount to
11   be proven at trial;
12           7.      For compensatory damages to Plaintiff and Class Members for pain and suffering in an
13   amount to be proven at trial;
14           8.      For restitution to Plaintiff and Class Members who were deprived of wages,
15   compensation, employment benefits, or other equitable monetary relief as a result Defendants’
16   unlawful practices as permitted by law;
17           9.      For and award of reasonable attorneys’ fees and costs as provided by California
18   Government Code § 12965(b) and Code of Civil Procedure § 1021.5;
19           10.     For all pre- and post-judgment interest as permitted by law; and
20           11.     For such other and further relief the court may deem just and proper.
21
     DATED: December 15, 2021                      LAW OFFICE OF ERIC HONIG and
22
                                                   LAW OFFICES OF PETER M. HART
23
24
25
                                                   By: ________________________________
26                                                             Eric S. Honig
                                                               Peter M. Hart
27                                                             Attorneys for Plaintiff Michele Obrien
28
                                                     12
                                     CLASS ACTION COMPLAINT FOR DAMAGES
        Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 17 of 36




 1
                                       DEMAND FOR JURY TRIAL
 2
          Plaintiff demands a trial by jury for herself and the Class on all claims so triable.
 3
 4   DATED: December 15, 2021                    LAW OFFICE OF ERIC HONIG and
 5                                               LAW OFFICES OF PETER M. HART

 6
 7
 8
 9
                                                 By: ________________________________
10                                                           Eric S. Honig
                                                             Peter M. Hart
11                                                           Attorneys for Plaintiff Michele Obrien

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                                 CLASS ACTION COMPLAINT FOR DAMAGES
Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 18 of 36




                 EXHIBIT B
                                 Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 19 of 36

                                                                                                                                                     SUM-1 00
                                               SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                        (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
 (A VISO AL DEMANDADO):
 AMAZON .COM INC., a Delaware corporation; Additional Parties Attachment form is attached

 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 MICHELE OBRIEN, as an individual and on behalf of others similarly situated,

  NOTICE! You have been sued . The court may decide against you without your being heard unless you respond within 30 days. Read the information
  beiow.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A fetter or phone call will not protect you. Your written response must be in proper legal form if you want the court lo hear your
  case. There may be a court form that you can use for your response . You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/seffhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form . If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service . If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program . You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia .org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any setUement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jA VISO! Lo han demandado. Si no responde dentro de 30 dias, fa corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
 continuaci6n.
     Tiene 30 DfAS DE CALENDARIO despues de que le entreguen esta citaci6n y papetes legales para presentar una respuesta por escrito en esta
 cone y hacer que se entregue una copia al demandante. Una carla o una Jlamada te!ef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formu/arios de fa corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en fa
 biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
 le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
 quitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos legates. -Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
 remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de serilicios lega/es sin fines de lucro. Puede encontrar estos gt upos sin fines de /ucro en el sitio web de California Legal Services,
 (www. lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (1W1W.sucorte.ca.gov} o poniendose en contacto con la corle o eJ
 colegio de abogados locales. AV/SO: Por fey, la carte tiene derecho a recfamar las cuotas y los costos exentos por imponer un gravamen sobre
 c-ualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que


                                                                                                        I
 pagar el gravamen de la corte antes de que la carte pueda desechar el caso.
The name and address of the court is:                                                        CASE NUMBER: (Numero de/ Caso):
(El nombre y direcci6n de la carte es) : Alameda County Superior Court
1225 Fallon Street
Oakland, CA 94612
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
Eric S. Honig, P.O. Box 10327, Marina Del Rey, CA 90295, (310) 699-8051
DATE:                                                                         Clerk, by                                          , Deputy
(F_e cha)                                                                                (Secretario)                                                (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-01 OJ.)
 (Para prueba de entrega de esta citati6n use el formutario Proof of Service of Summons, (POS-010)) .
  £SEAL]
                                          NOTICE TO THE PERSON SERVED: You are served
                                          1.   D    as an individual defendant.
                                         2.    D    as the person sued under the fictitious name of {specify) :

                                         3.    CJ   on behalf of (specify):
                                               under:   D   CCP 416.10 (corporation)                        D        CCP 416.60 (minor)
                                                        D  CCP 416..20 (defunct corporation)                c::J     CCP 416.70 (conservatee)
                                                        D  CCP 416.40 (association or partnership)          c::::J   CCP 416.90 (at...rthorized person)
                                                        D  other (specify) :
                                         4.    CJ   by personal delivery on (date) :
                                                                                                                                                        Pae1of1
Form Adopted for Mandatory use
Judieial Council of California                                         SUMMONS                                                Code of Civil Procedure§§ 412.20, 465
SUM-100 [Rev. July 1, 2009j                                                                                                                      t.,vww.courts.ca.gov
                            Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 20 of 36

                                                                                                                             SUM-200(A
  SHORT TITLE:                                                                                CASE NUMBER:

  Obrien v. Amazon.com Inc., et al.


                                                         INSTRUCTIONS FOR USE
  ➔ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  ➔ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
    Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

       CJ        Plaintiff          0   Defendant   CJ   Cross-Complainant    D      Cross-Defendant

AMAZON.COM SERVICES LLC, a Delaware limited liability corporation; AMAZON WEB SERVICES, INC., a Delaware corporation;
and DOES 1 through 100, inclusive,




                                                                                                                 Page          of
                                                                                                                                    Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                    ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                          Attachment to Summons
Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 21 of 36




                 EXHIBIT C
                                   Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 22 of 36
                                                                                                                                                                  CM-010
  ATTORNEY OR PARTY WITHOUT A TTORNEY4Name, Staie Bar number, and address):                                                             FOR COURT USE ONLY
- Peter M. Hart (State Bar No. 1 8691)
  Law Offices of Peter M. Hart
  12121 Wilshire Blvd,, Suite 525
  Los Angeles, CA 90025
                TELEPHONE NO.
  ATTORNEY FOR (Name):
                                      illchele
                                         0) 4 78-5789
                                          •    Obrien
                                                                      FAXNO.:   (509) 561-6441
SUPERIOR COURT OF CAUFORNIA, COUNTY OF                   ALAMEDA
          sTREET ADDREss:             1225 Fallon Street
         MA1uNGADDREss:               1225 Fallon Street
        c1TY ANo 21P coDE:            Oakland, CA 94612
                 BRANCH NAME:         Rene C. Davidson Courthouse
   CASE NAME:
   Michele Obrien, et al. v. Amazon.com Inc., et al.
                                                                                                                        CASE NUMBER:
         CIVIL CASE COVER SHEET                                          Complex Case Designation
(Z)         Unlimited      Limited        D
            (Amount        (Amount                      Counter     D        Joinder          D
                                                                                           JUDGE:
            demanded       demanded is          Filed ,,vith first appearance by defendant
                           $25,000 or less)
            exceeds $25,000)                         (Cal. Rules of Court, rule 3.402)      DEPT:

                              Items 1-6 below must be completed (see mstructJons on page 2)
1. Check one box below for the case type that best describes this case:
      Auto Tort                                                   Contract                                      Provisionally Complex Civil Litigation
     D              Auto (22)                                     D      Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
     D              Uninsured motorist (46)                       D Rule 3 .740 co!fections (09)                D      Antitrust/Trade regulation (03}
     Other Pl/PD/WO (Personal Injury/Property                     D Other collections (09)                      D      Construction defect (10)
     Damage/Wrongful Death) Tort                                  D Insurance coverage {18)                     D      Mass tort (40)
     D             Asbestos (04)                                  D Other contract (37)                         D      Securities litigation (28)
     D             Product liability (24)                         Real Property                                 D      Environmentalff oxic tort (30)
     D             Medical malpractice (45)                       D Eminent domain/Inverse                      D      Insurance coverage claims arising from the
     D              Other P!/PD/WD (23)                                 condemnation {14)                              above listed provisionally complex case
      Non-PI/PDJWO (Other) Tort                                   D Wrongful eviction (33)                             types (41)

     D              Business tort/unfair business practice (07)   D Other real property (26)                    Enforcement of Judgment
     D             Civil rights (08)                              Unlawful Detainer                             D      Enforcement of judgment (20)
     D             Defamation (13)                                D      Commercial (31)                        Miscellaneous Civil Complaint
     D              Fraud (16)                                    D      Residential (32)                       D      RICO{27)
     D              Intellectual property (19)                    D      Orugs(38)                              D      Other complaint (not specified above) (42)
     D              Professional negligence {25)                  Judicial Review                               Miscellaneous Civil Petition
     D   Other non-PI/PD/WD tort (35)                             D      Asset forfeiture {05)
                                                                                                                D      Partnership and corporate governance (21)
     ~loyment                                                     D      Petition re: arbitration award (11)
                                                                                                                D      Other petition (not specified above) (43)
     LJ            Wrongful termination (36)                      D      Writ of mandate (02)
     [ZJ Other employment (15)                                    D      Other judicial review (39)
2. This case LZJ is       LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management
      a.    D            Large number of separately represented parties              d.   0       Large number of witnesses
      b.W                Extensive motion practice raising difficult or novel        e.   D      Coordination with related actions pending in one or more courts
                         issues that will be time-consuming to resolve                           in other counties, states, or countries, or in a federal court
      C.    [ZJ          Substantial amount of documentary evidence                  f.   D      Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.[Z] monetary                           b. [Z] nonmonetary; declaratory or injunctive relief                c.   D   punitive
4 . Number of causes of action (specify) : Three (3)
5. Thls case [Z] is       D i s not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: December 15, 2021
Peter M. Hart
                                                                                                 ►
                                                                                                 _
                                                                                                                   p~             M      ~
                                          (TYPE OR PRINT NAME}                                                 (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                       NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code) . {Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on!v.
                                                                                                                                                             _    Paae 1 af 2
f C01 Ad~d for .M61l.d6'£1W _Use                                  CIVIL CASE COVER SHEET
  .!'..✓~
        . -~~   Cc-r<.r,;~d of Ca'J~Wta
  -CM-O"iOfR·eW . Ji.ily 1. 2tt01]
                             Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 23 of 36

                                                                                                                                         CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has muitiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel , or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property , services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or {5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
compiaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
th e case is complex.                                    CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
        Damage/Wrongful Death                           Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
    Uninsured Motorist (46) (if the                          Contract (not unlawful detainer             Construction Defect (10)
        case involves an uninsured                               or wrongful eviction)                   Claims Involving Mass Tort (40)
        motorist claim subject to                       Contract/Warranty Breach--Sel!er                 Securities litigation (28)
        arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmentalrroxic Tort (30)
            instead of Autoj                            Negligent Breach of Contracl/                    Insurance Coverage Claims
Other Pl/PD/WO (Personal Injury/                             Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                    case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement. of Judgment
       Asbestos (04)                                    book accounts) (09)                              Enforcement of Judgment (20)
           Asbestos Property Damage                     Collection Case--Seller Plaintiff                    Abstract of Judgment (Out of
         Asbestos Personal Injury/                      Other Promissory Note/Collections                         County}
               Wrongful Death                                Case                                            Confession of Judgment (non-
   Product Liability (not asbestos or               Insurance Coverage (not provisionally                         domestic relations)
         toxic/environmental) (24)                      complex) (18)                                        Sister Slate Judgment
   Medical Malpractice {45)                             Auto Subrogation                                     Administrative Agency Award
         Medical Malpractice--                          Other Coverage                                          (not unpaid taxes)
               Physicians & Surgeons                Other Contract (37)                                      Petition/Certification of Entry of
         Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                              Other Enforcement of Judqmenl
   Other P!/PD/WD {23)                           Real Property                                                    Case                   ~
         Premises liability (e.g., slip             Eminent Domain/Inverse                           Miscellaneous Civil Complaint
               and fall)                                Condemnation (14)                               RICO (27)
         Intentional Bodily Injury/PD/WO            Wrongful Eviction (33)                              Other Complaint (not specified
               (e.g., assauit, vandalism)           Other Real Property (e.g ., quiet title) (26)
                                                                                                             above) (42)
         Intentional Infliction of                                                                           Declaratory Relief Only
                                                        Writ of Possession of Rea! Property
               Emotional Distress                                                                            Injunctive Relief Only (non-
                                                        Mortgage Foreclosure
         Negligent Infliction of                                                                                  harassmen{i
                                                        Quiet Title
               Emotional Distress                       Other Real Property (not eminent                     Mechanics Lien
         Other Pl/PD/WO                                                                                      Other Commercial Complaint
                                                         domain, landlord/tenant, or
Non-PI/PD/WD (Other) Tort                               foreclosure)                                              Case (non-tortlnon-comp!ex)
                                                 Unlawful Detainer                                           Other Civil Complain!
   Business Tort/Unfair Business
                                                                                                                 (non-tort/non-complex)
       Practice (07)                                Commercial (31)
                                                                                                     Miscellaneous Civil Petition
   Civil Rights (e.g ., discrimination,              Residential (32)                                    Partnership and Corporate
        false arrest) (not civil                     Drugs (38) (if the case involves illegal
        harassment) (08)
                                                                                                             Governance (21)
                                                         drugs, check this item; otheiwise,              Other Petition (not specified
   Defamation (e.g., slander, libel)                     report as Commercial or Residential)
          (13)                                                                                               above) (43)
                                                 Judicial Review                                             Civil Harassment
   Fraud (16)                                       Asset Forfeiture (05)                                    Workplace Violence
   !ntelleciua! Property {19)                       Petition Re: Arbitration Award ( 1 i)                    Elder/Dependent Adult
   Professional Negligence (25)                     Writ of Mandate (02)
       Legal Malpractice
                                                                                                                 Abuse
                                                         Writ-Administrative Mandamus
                                                                                                             Election Contest
       Other Professional Malpractice                    Writ-Mandamus on Limited Court
            (not medical or legal)                                                                           Petition for Name Change
                                                            Case Matter                                      Petition for Relief From Late
    Other Non-Pl/PD/WO Tort (35)                        Wril-O!her Limited Court Case
Employment                                                                                                        Claim
                                                            Review                                           Other Civil Petition
   Wrongful Termination (36)
                                                     Other Judieial Review (39)
   Other Employment (15)                                Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                            Commissioner Appeals
CM-010 [Rev, July 1, 2007]                                                                                                                   Pageiof 2
                                                     CIVIL CASE COVER SHEET
                       Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 24 of 36

     F. ADDENDUM TO CIVIL CASE COVER SHEET

ShortTitle;      0\ofitn ". AMA.tot'\ . eo~ Inc:,.. L-t ~, .
                                                      CIVIL CASE COVER SHEET ADDENDUM
                                 THIS FORM IS REQUIRED IN ALL NEW UNLIMITED CIVIL CASE FILINGS IN THE
                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                                                                    [   J Hayward Hall of Justice      (447)
~ Oakland, Rene C . Davidson Alameda County Courthouse              (446)           r   I   Pleasanton, Gale-Schenone Hall of Justice (448)
Civil Case Cover
Sheet Category         Civil Case Cover Sheet Case Type        Alameda County Case Type (check only one)
Auto Tort              Auto tort (22)                           [ l         34   Auto tort (G)
                                                                Is this an uninsured motorist case?           [ Jy:es [ ] no
Other Pl /PD /         Asbestos (04)                            [ 1         75   Asbestos (D)
WDTort                 Product liability (24)                   [ J         89   Product liability (nm asbestos or toxic tort/environmental) (G)
                       Medical malpractice (45)                 [ l         97   Medical malpractice {G)
                       Other PI/PD/WD tort (23)                 r l         33   Other Pl/PD/WO tort (G)

Non - Pl /PD/          Bus tort/ unfair bus. practice (07)      [ J         79   Bus tort I unfair bus. practice (G}
WO Tort                Civil rights (08)                        [ l         80   Civil rights (G)
                       Defamation (13)                          [ J         84   Defamation (G)
                       Fraud (16)                               l l         24   Fraud (G)
                       Intellectual property (19)               [ l         87   lnteltectua! property {G)
                       Professional negligence (25)             [ 1         59   Professional negligence - non-medical (G)
                       Other non-Pl/PD/WO tort (35}             f l         03   Other non-Pl/PD/WO tort (G)
Employment             Wrongful tennination (36)                [ l         38   Wrongful teITTlination (G}
                       Other employment (15)
                                                               ~
                                                               [ )
                                                                            85
                                                                            53
                                                                                 Other employment (G)
                                                                                 Labor comm award confirmation
                                                                [ l         54   Notice of appeal - LC.A.
Contract               Breach contract I Wmty (06)              [ l         04   Breach contract / Wmty (G}
                        Collections (09)                        [ J         81   Collections (G)
                        Insurance coverage (18)                 [   l       86   Ins. coverage - non-complex (G)
                        Other contract (37)                     [   l       98   Other contract (G)
Real Property           Eminent domain/ Inv Cdm (14)            [   l       18   Eminent domain / Inv Cdm (G}
                        Wrongful eviction (33)                  [   J       17   Wrongful eviction (G)
                        Other real property (26)                r   1       36   Other real property (G}
Unlawful Detainer       Commercial (31)                         [ l         94   Unlawful Detainer - commercial            Is the deft. in possession
                        Residential (32)                        [ l         47   Unlav.fful Detainer - residential         of the property?
                        DruAs (38)                              [ J         21   Unlawful detainer - drugs                [ ] Yes [ JNo
Judicial Review         ft,sset forfeiture (05)                 [ l         41   Asset forfeiture
                        Petition re: arbitration award (11)     [ )         62   Pet re : arbitration award
                        Writ of Mandate (()2)                   [ J         49   Writ of mandate
                                                                Is this a CEQA action (Publ.Res.Code section 21000 et seq} [ ]Yes [ ] No
                        Other iudicial review (39)               r 1 64 Other judicial review
Provisionally           Antitrust / Trade regulation (03)       { )         77   Antitrust I Trade regulation
Complex                 Construction defect (10)                f l         82   Construction defect
                        Claims involving mass tort (40)         [ 1         78   Claims involving mass tort
                        Securities litigation (28)              [ l         91   Securities litigation
                        Toxic tort / Environmental (30)         [ 1         93   Toxic tort/ Environmental
                        Ins covrq from cmp!x case !voe (41)     f l         95   lns covrg from complex case type
Enforcement of          Enforcement of judgment (20)            [ J         19   Enforcement of judgment
Judgment                                                        [ J         08   Confession of judgment
Misc Complaint          RICO (27)                               [ l         90   RICO (G)
                        Partnership/ Corp. governance (21)      [ J         88   Partnership/ Corp. governance (G)
                        Other complaint (421                    [ l         68   All other complaints (G)
Misc. Civil Petition    Other petition (43)                     f l         06   Change of name
                                                                r   1       69   Other oetition
       202-19 (5/1/00)                                                                                                                         A-13
Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 25 of 36




                 EXHIBIT D
                    Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 26 of 36
                                                                                                      Reserved for Clerk’s File Stamp
               SUPERIOR COURT OF CALIFORNIA
                   COUNTY OF ALAMEDA
  COURTHOUSE ADDRESS:
 Rene C. Davidson Courthouse
 1225 Fallon Street, Oakland, CA 94612
  PLAINTIFF:
 MICHELE OBRIEN, as an individual and on behalf of others similarly situated
  DEFENDANT:
 AMAZON.COM INC., a Delaware corporation et al
                                                                                               CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                            21CV004153

TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
the filing of the complaint (Cal. Rules of Court, 3.110(b)).

Give notice of this conference to all other parties and file proof of service.

Your Case Management Conference has been scheduled on:


                                  Date:   04/14/2022         Time:   8:30 AM     Dept.:   21
                                  Location:   Rene C. Davidson Courthouse
                                              Administration Building, 1221 Oak Street, Oakland, CA 94612

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.gov.




Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda
                                  CASE MANAGEMENT CONFERENCE
ALA CIV-100 [Rev. 10/2021]
             Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 27 of 36
                                                                               Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:
Rene C. Davidson Courthouse
1225 Fallon Street, Oakland, CA 94612
PLAINTIFF/PETITIONER:
MICHELE OBRIEN, as an individual and on behalf of others similarly
situated
DEFENDANT/RESPONDENT:
AMAZON.COM INC., a Delaware corporation et al
                                                                         CASE NUMBER:
                        CERTIFICATE OF MAILING                           21CV004153

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




                                                   Chad Finke, Executive Officer / Clerk of the Court
Dated: 12/15/2021                                   By:




                                    CERTIFICATE OF MAILING
Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 28 of 36




                 EXHIBIT E
                                  Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 29 of 36
                                                                                                                                                            POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
    Ashlie Fox | SBN: 294407
    PETER M. HART
    12121 Wilshire Blvd., Suite 525 Los Angeles, CA 90025
   TELEPHONE NO.: (310) 207-2277 | FAX NO. (509) 561-0109 | E-MAIL ADDRESS (Optional): pchoi.loph@gmail.com
    ATTORNEY FOR (Name): Plaintiff: Michele Obrien



 ALAMEDA SUPERIOR COURT
         STREET ADDRESS: 1225      FALLON STREET
         MAILING ADDRESS:

         CITY AND ZIP CODE: OAKLAND,      CA 94612
            BRANCH NAME: NORTHERN           DIVISION
      PLAINTIFF: Michele Obrien, as an individual and on behalf of others similarly situated                    CASE NUMBER:


   DEFENDANT: Amazon.com Inc.                                                                                   21CV004153

                                                                                                                Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS                                                                      Obrien

                                               (Separate proof of service is required for each party served.)

1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.       Summons
    b.       Complaint
    c.       Alternative Dispute Resolution (ADR) package
    d.       Civil Case Cover Sheet (served in complex cases only)
    e.       Cross-complaint
    f.       other (specify documents): Civil Case Cover Sheet Addendum; Notice of Case Management Conference; Notice of
             Confirmation of Electronic Filing
3. a. Party served (specify name of party as shown on documents served):
    Amazon.com Inc. a Delaware corporation

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         Corporation Service Company - Lai Saevang - Agent for Service of Process
4. Address where the party was served: Coporation Service Company
                                                       2710 Gateway Oaks Dr Ste 150N
                                                       Sacramento, CA 95833-3502
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 12/17/2021 (2) at (time): 3:10 PM

    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3b):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.

             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.

             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.

             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.

             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                                              Page 1 of 2
Form Approved for Mandatory Use                                                                                                          Code of Civil Procedure, § 417.10
Judicial Council of California                                PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/PLA29740
                           Case
          PETITIONER: Michele Obrien,3:22-cv-00348-JSC
                                      as an individual and on behalf ofDocument          1-1
                                                                       others similarly situated   Filed 01/18/22CASE
                                                                                                                   Page  30 of 36
                                                                                                                      NUMBER:

                                                                                                                               21CV004153
      RESPONDENT: Amazon.com Inc.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of (specify): Amazon.com Inc. a Delaware corporation
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                                415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                        416.60 (minor)
                                   416.30 (joint stock company/association)            416.70 (ward or conservatee)
                                   416.40 (association or partnership)                 416.90 (authorized person)
                                   416.50 (public entity)                              415.46 (occupant)
                                                                                       other:

7. Person who served papers
   a. Name: T. ANDY HARRIS - PacTrack, Inc.
   b. Address: 4373 Santa Anita Avenue El Monte, CA 91731
   c. Telephone number: (213) 201-5856
   d. The fee for service was: $ 155.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 81-002
                  (iii) County: Sacramento

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 12/18/2021
                PacTrack, Inc.
                4373 Santa Anita Avenue
                El Monte, CA 91731
                (213) 201-5856
                www.pactrack.com



                                 T. ANDY HARRIS
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                      (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                                 Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                     POS-010/PLA29740
Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 31 of 36




                 EXHIBIT F
                                  Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 32 of 36
                                                                                                                                                            POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
    Ashlie Fox | SBN: 294407
    PETER M. HART
    12121 Wilshire Blvd., Suite 525 Los Angeles, CA 90025
   TELEPHONE NO.: (310) 207-2277 | FAX NO. (509) 561-0109 | E-MAIL ADDRESS (Optional): pchoi.loph@gmail.com
    ATTORNEY FOR (Name): Plaintiff: Michele Obrien



 ALAMEDA SUPERIOR COURT
         STREET ADDRESS: 1225      FALLON STREET
         MAILING ADDRESS:

         CITY AND ZIP CODE: OAKLAND,      CA 94612
            BRANCH NAME: NORTHERN           DIVISION
      PLAINTIFF: Michele Obrien, as an individual and on behalf of others similarly situated                    CASE NUMBER:


   DEFENDANT: Amazon.com Services LLC                                                                           21CV004153

                                                                                                                Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS                                                                      Obrien

                                               (Separate proof of service is required for each party served.)

1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.       Summons
    b.       Complaint
    c.       Alternative Dispute Resolution (ADR) package
    d.       Civil Case Cover Sheet (served in complex cases only)
    e.       Cross-complaint
    f.       other (specify documents): Civil Case Cover Sheet Addendum; Notice of Case Management Conference; Notice of
             Confirmation of Electronic Filing
3. a. Party served (specify name of party as shown on documents served):
    Amazon.com Services LLC a Delaware limited liability corporation;

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         Corporation Service Company - Lai Saevang - Agent for Service of Process
4. Address where the party was served: Coporation Service Company
                                                       2710 Gateway Oaks Dr Ste 150N
                                                       Sacramento, CA 95833-3502
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 12/17/2021 (2) at (time): 3:10 PM

    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3b):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.

             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.

             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.

             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.

             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                                              Page 1 of 2
Form Approved for Mandatory Use                                                                                                          Code of Civil Procedure, § 417.10
Judicial Council of California                                PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/PLA29741
                           Case
          PETITIONER: Michele Obrien,3:22-cv-00348-JSC
                                      as an individual and on behalf ofDocument          1-1
                                                                       others similarly situated   Filed 01/18/22CASE
                                                                                                                   Page  33 of 36
                                                                                                                      NUMBER:

                                                                                                                               21CV004153
      RESPONDENT: Amazon.com Services LLC


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of (specify): Amazon.com Services LLC a Delaware limited liability corporation;
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                                415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                        416.60 (minor)
                                   416.30 (joint stock company/association)            416.70 (ward or conservatee)
                                   416.40 (association or partnership)                 416.90 (authorized person)
                                   416.50 (public entity)                              415.46 (occupant)
                                                                                       other:

7. Person who served papers
   a. Name: T. ANDY HARRIS - PacTrack, Inc.
   b. Address: 4373 Santa Anita Avenue El Monte, CA 91731
   c. Telephone number: (213) 201-5856
   d. The fee for service was: $ 75.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 81-002
                  (iii) County: Sacramento

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 12/18/2021
                PacTrack, Inc.
                4373 Santa Anita Avenue
                El Monte, CA 91731
                (213) 201-5856
                www.pactrack.com



                                 T. ANDY HARRIS
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                      (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                                 Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                     POS-010/PLA29741
Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 34 of 36




                 EXHIBIT G
                                  Case 3:22-cv-00348-JSC Document 1-1 Filed 01/18/22 Page 35 of 36
                                                                                                                                                            POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
    Ashlie Fox | SBN: 294407
    PETER M. HART
    12121 Wilshire Blvd., Suite 525 Los Angeles, CA 90025
   TELEPHONE NO.: (310) 207-2277 | FAX NO. (509) 561-0109 | E-MAIL ADDRESS (Optional): pchoi.loph@gmail.com
    ATTORNEY FOR (Name): Plaintiff: Michele Obrien



 ALAMEDA SUPERIOR COURT
         STREET ADDRESS: 1225      FALLON STREET
         MAILING ADDRESS:

         CITY AND ZIP CODE: OAKLAND,      CA 94612
            BRANCH NAME: NORTHERN           DIVISION
      PLAINTIFF: Michele Obrien, as an individual and on behalf of others similarly situated                    CASE NUMBER:


   DEFENDANT: Amazon Web Services, Inc.                                                                         21CV004153

                                                                                                                Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS                                                                      Obrien

                                               (Separate proof of service is required for each party served.)

1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
    a.       Summons
    b.       Complaint
    c.       Alternative Dispute Resolution (ADR) package
    d.       Civil Case Cover Sheet (served in complex cases only)
    e.       Cross-complaint
    f.       other (specify documents): Civil Case Cover Sheet Addendum; Notice of Case Management Conference; Notice of
             Confirmation of Electronic Filing
3. a. Party served (specify name of party as shown on documents served):
    Amazon Web Services, Inc. a Delaware corporation

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
         Corporation Service Company - Lai Saevang - Agent for Service of Process
4. Address where the party was served: Coporation Service Company
                                                       2710 Gateway Oaks Dr Ste 150N
                                                       Sacramento, CA 95833-3502
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 12/17/2021 (2) at (time): 3:10 PM

    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3b):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.

             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.

             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.

             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.

             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                                              Page 1 of 2
Form Approved for Mandatory Use                                                                                                          Code of Civil Procedure, § 417.10
Judicial Council of California                                PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                               POS010-1/PLA29742
                           Case
          PETITIONER: Michele Obrien,3:22-cv-00348-JSC
                                      as an individual and on behalf ofDocument          1-1
                                                                       others similarly situated   Filed 01/18/22CASE
                                                                                                                   Page  36 of 36
                                                                                                                      NUMBER:

                                                                                                                               21CV004153
      RESPONDENT: Amazon Web Services, Inc.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of (specify): Amazon Web Services, Inc. a Delaware corporation
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                                415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                        416.60 (minor)
                                   416.30 (joint stock company/association)            416.70 (ward or conservatee)
                                   416.40 (association or partnership)                 416.90 (authorized person)
                                   416.50 (public entity)                              415.46 (occupant)
                                                                                       other:

7. Person who served papers
   a. Name: T. ANDY HARRIS - PacTrack, Inc.
   b. Address: 4373 Santa Anita Avenue El Monte, CA 91731
   c. Telephone number: (213) 201-5856
   d. The fee for service was: $ 75.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 81-002
                  (iii) County: Sacramento

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 12/18/2021
                PacTrack, Inc.
                4373 Santa Anita Avenue
                El Monte, CA 91731
                (213) 201-5856
                www.pactrack.com



                                 T. ANDY HARRIS
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                      (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                                 Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                     POS-010/PLA29742
